Case 1:22-cr-00240-AKH Document 168-29 Filed 03/22/24 Page 1 of 2




                  Exhibit AA
                Case 1:22-cr-00240-AKH Document 168-29 Filed 03/22/24 Page 2 of 2

    From: Tomita, William
    Sent: Wednesday,January 07, 2009 2:30 AM
    To: Hwang, Bill
    Cc: Park, Raymond; Halligan, Patrick
    Subject: CCB swap conversions/ settlement
    Bill,

    We've converted our full swap positions at BNP, MS & CS to cash positions. We also convert�d all except $50 mm USD
    at DB swap to cash.

    This means that we should have around 1,675 mm shares short as cash that can get collapsed when the long allocation
    settles. The allocation size was 1,997 mm shs, so this will leave us w/ a balance of 322 mm shs to collapse (~$165 m
    USD).

    In terms of where the long allocations will physically settle, this will be determined tomorrow w/ Pat's team, and to my
    knowledg e is not yet set in stone until then.

    The Citi swap position we have left unconverted as the timing did not seem right from a strategic. standpoint to protect our
    motivation and intent, but we as sume tomorrow should be OK to do so.

    UBS, Norn, and Maq swap we have left unconverted for the time being as discussed.

    Thx,
    Will




                                                                                                            GOVERNMENT
                                                                                                              EXHIBIT
                                                                                                               2756
                                                                                                              22 Cr. 240 (AKH)




FOIA Confidential Treatment Requested by Tiger Asia                                                               TIGA-E-00007294



                                                                                                            SDNY_P021_0000000006
